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                                           1   LARSON & ZIRZOW, LLC
                                               ZACHARIAH LARSON, ESQ.
                                           2   Nevada Bar No. 7787
                                               E-mail: zlarson@lzlawnv.com
                                           3
                                               MATTHEW C. ZIRZOW, ESQ.
                                           4   Nevada Bar No. 7222
                                               E-mail: mzirzow@lzlawnv.com
                                           5   850 E. Bonneville Ave.
                                               Las Vegas, Nevada 89101
                                           6   Tel: (702) 382-1170
                                           7   Fax: (702) 382-1169

                                           8   Proposed Attorneys for Debtor

                                           9
                                                                         UNITED STATES BANKRUPTCY COURT
                                          10                                    DISTRICT OF NEVADA
                                          11
                                               In re:                                              Case No. 21-10690-nmc
                                          12                                                       Chapter 11
Tel: (702) 382-1170 Fax: (702) 382-1169




                                               GATA III LLC,
                                          13
       LARSON & ZIRZOW, LLC




                                                                        Debtor.                    Date: March 23, 2021
        Las Vegas, Nevada 89101
          850 E. Bonneville Ave.




                                          14                                                       Time: 9:30 a.m.
                                          15
                                                          DECLARATION OF ZACHARIAH LARSON, ESQ. IN SUPPORT OF
                                          16            THE APPLICATION FOR ORDER APPROVING THE EMPLOYMENT OF
                                                        LARSON & ZIRZOW, LLC AS GENERAL REORGANIZATION COUNSEL
                                          17                  FOR DEBTOR RETROACTIVE TO THE PETITION DATE
                                          18            I, Zachariah Larson, Esq., hereby declare as follows:

                                          19            1.     I am over the age of 18 and am mentally competent. I have personal knowledge

                                          20   of the facts in this matter and if called upon to testify, could and would do so. I make this

                                          21   declaration in support of the Application for Order Approving the Employment of Larson &

                                          22   Zirzow, LLC as General Reorganization Counsel for Debtor Retroactive to the Petition Date

                                          23   (the “Application”). Unless otherwise indicated, all capitalized terms herein shall have the same

                                          24   meaning as ascribed to them in the Application.

                                          25            2.     I am an attorney licensed to practice law in the State of Nevada, and am admitted

                                          26   to practice law before the courts of Nevada. I am a shareholder with the law firm of Larson &

                                          27   Zirzow, LLC (“L&Z”), which maintains offices at 850 E. Bonneville Ave., Las Vegas, Nevada

                                          28   89101. I am the principal attorney with L&Z assigned to the representation of Gata III LLC, a
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                                           1   Nevada limited liability company, as debtor and debtor-in-possession (the “Debtor”), in the
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                                           2   above-referenced bankruptcy case.
                                           3
                                           3                                               Introduction
                                           4
                                           4          1.      Gata III LLC is a Nevada limited liability company with a principal place of
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                                           5   business located at 1463 Graystone Canyon Ave., Las Vegas, Nevada. The Debtor was formed
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                                           6   on April 26, 2018, and is managed by Paul Thomas (“Mr. Thomas”), who is also its sole
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                                           7   member. The Debtor owns two (2) parcels of improved real property in Clark County, Nevada,
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                                           8   one located at 375 North Stephanie Street, #3, Henderson, Nevada, which is currently leased to a
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                                           9   Tokyo Boys sushi bar and restaurant, and the second located at 120 Cassia Way, Henderson,
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                                          10   Nevada, which is a flex-use storage and warehouse space with a gross building area of 5,944
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                                          11   square feet (collectively, the “Properties”).
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                                          12                                            Relief Requested
                                          13
                                                      2.      The Debtor seeks court approval pursuant to section 327(a) of the Bankruptcy
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                                          14   Code to employ and retain L&Z as its attorneys in connection with the Chapter 11 Case. The
                                          15
                                          15   Debtor requests that the Court approve the retention and compensation of L&Z as its attorneys to
                                          16
                                          16   perform the legal services that will be necessary during its Chapter 11 Case in accordance with
                                          17
                                          17   L&Z’s normal hourly rates and normal reimbursement policies. L&Z requests that this approval
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                                          18   be granted retroactive to the Petition Date.
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                                          19                                                   Retention
                                          20
                                          20          3.      On or about February 12, 2021, L&Z entered into a Legal Representation
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                                          21   Agreement (the “Representation Agreement”) with the Debtor, a true and correct copy of which
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                                          22   is attached hereto as Exhibit 1. The Representation Agreement provides the current hourly rates
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                                          23   and current charges for certain expenses charged by L&Z.
                                          24
                                          24          4.      L&Z’s attorneys have extensive experience in the field of bankruptcy and
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                                          25   business reorganizations under chapter 11 of the Bankruptcy Code. The attorneys employed by
                                          26
                                          26   L&Z are duly admitted to practice before this Court. Both bankruptcy partners of L&Z are
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                                          27   “AV” rated by Martindale Hubbell for their bankruptcy work, and Matthew C. Zirzow, Esq. is
                                          28
                                          28   Board Certified in Business Bankruptcy Law by the American Board of Certification. Further,


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                                           1   both attorneys have practiced bankruptcy for more than twenty (20) years and have extensive
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                                           2   experience.   Accordingly, L&Z has the necessary experience to deal effectively with the
                                           3
                                           3   potential legal issues that may arise in the Debtor’s Chapter 11 Case.
                                           4
                                           4                                            Scope of Services
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                                           5          5.      L&Z’s services are appropriate and necessary to enable the Debtor to execute its
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                                           6   duties as the debtor and the debtor in possession faithfully and to implement the restructuring
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                                           7   and reorganization of the Debtor. This Application proposes that L&Z be employed to render
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                                           8   the following professional services:
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                                           9                  (a)    prepare on behalf of the Debtor, as debtor in possession, all necessary or
                                          10
                                          10          appropriate motions, applications, answers, orders, reports, and other papers in
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                                          11          connection with the administration of the Debtor’s bankruptcy estate;
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                                          12                  (b)    to take all necessary or appropriate actions in connection with a sale,
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                                                      and/or a plan of reorganization and related disclosure statement, and all related
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                                          14          documents, and such further actions as may be required in connection with the
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                                          15          administration of the Debtor’s estate;
                                          16
                                          16                  (c)    take all necessary actions to protect and preserve the Debtor’s estate
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                                          17          including the prosecution of actions on the Debtor’s behalf, the defense of any actions
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                                          18          commenced against the Debtor, the negotiation of disputes in which the Debtor is
                                          19
                                          19          involved, and the preparation of objections to claims filed against the Debtor’s estate; and
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                                          20                  (d)    perform all other necessary legal services in connection with the
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                                          21          prosecution of the Chapter 11 Case.
                                          22
                                          22          6.      It is necessary for the Debtor to employ attorneys to render the foregoing
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                                          23   professional services. Subject to this Court’s approval of the Application, L&Z is willing to
                                          24
                                          24   serve as Debtor’s general bankruptcy counsel to perform the services described.
                                          25
                                          25                                            Disinterestedness
                                          26
                                          26          7.      L&Z and its individual attorneys are “disinterested persons” pursuant to sections
                                          27
                                          27   327(a) and 101(14) of the Bankruptcy Code because they are not a creditor, equity security
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                                          28   holder, or insider of the Debtor; they are not, and were not within two (2) years before the


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                                           1   Petition Date, a director, officer or employee of the Debtor; and they do not have an interest
                                           2
                                           2   materially adverse to the interests of the estate or any class of creditors or equity security holders
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                                           3   by reason of any direct or indirect relationship to, connection with, or interest in Debtor or for
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                                           4   any other reason.
                                           5
                                           5          8.      Mr. Thomas, who is the Debtor’s sole manager and member, was the source of
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                                           6   L&Z’s retainer, which arrangement is necessary and appropriate based on the specific facts and
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                                           7   circumstances of this case. See In re Lotus Props. LP, 200 B.R. 388 (Bankr. C.D. Cal. 1996); In
                                           8
                                           8   re Metro. Envtl. Inc., 293 B.R. 871 (Bankr. N.D. Ohio 2003); In re Kelton, 109 B.R. 641 (Bankr.
                                           9
                                           9   D. Vt. 1989); Nev. R. Pro. Conduct 1.8(f). First, the terms of the fee arrangement have been
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                                          10   timely and fully disclosed to the Debtor and the Court through this Application and the
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                                          11   accompanying Larson Declaration, and at the very outset of the bankruptcy case. Second, the
                                          12
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                                          12   Debtor expressly consented to the fee arrangement by executing the Representation Agreement.
                                          13
                                               Third, Mr. Thomas was provided with the opportunity to consult with his own independent
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                                          14   counsel and understands that notwithstanding his payment of the retainer from personal funds,
                                          15
                                          15   L&Z has a duty of undivided loyalty owed exclusively to the Debtor and the bankruptcy estate.
                                          16
                                          16   Fourth, the factual and legal relationships between the Debtor, L&Z, and Mr. Thomas, and all
                                          17
                                          17   terms of the Representation Agreement, including the payment of the retainer, were timely and
                                          18
                                          18   fully disclosed.
                                          19
                                          19          9.      Finally, there is no actual conflict, non-disinterestedness, or an impermissible
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                                          20   potential conflict of interest apparent from the transaction at issue; rather, the interests of Mr.
                                          21
                                          21   Thomas and the Debtor are fully aligned toward a successful reorganization. First, that Mr.
                                          22
                                          22   Thomas willingly providing a retainer from his personal funds for the Debtor’s attorneys’ fees
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                                          23   and costs in this case speaks volumes regarding his willingness to contribute to the
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                                          24   reorganization effort, and only helps, and does not hinder, a potential reorganization. Second,
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                                          25   such an arrangement is necessary given the specific facts and circumstances of this case. In
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                                          26   particular, the Debtor’s bankruptcy counsel was unwilling to undertake the representation
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                                          27   without a sufficient retainer, and the Debtor itself lacked sufficient funds or access to funding to
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                                          28   provide such funds. Finally, Mr. Thomas has also personally guaranteed the loans secured on the


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                                           1   Properties involved, and thus his personal interests are aligned with the Debtor’s in seeking a
                                           2
                                           2   successful reorganization or sale of the Properties in question through this Chapter 11 Case.
                                           3
                                           3          10.     Pursuant to Fed. R. Bankr. P. 2014(a), L&Z does not have any connections with
                                           4
                                           4   the Debtor, its creditors, any other party in interest, their respective attorneys or accountants, the
                                           5
                                           5   United States Trustee, or any person employed in the Office of the United States Trustee.
                                           6
                                           6   Further, L&Z’s representation will not be adverse to the Debtor’s estate.
                                           7
                                           7                                             Compensation
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                                           8          11.     As outlined in the Representation Agreement, the Debtor and L&Z have agreed to
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                                           9   an original retainer in the amount of $35,000.00. L&Z received $30,000.00 from the Debtor pre-
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                                          10   petition, with the remaining balance of $5,000 to be paid to L&Z within one (1) week of the
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                                          11   filing. Prior to the Petition Date, L&Z billed and was paid the sum of $5,000.00 for prepetition
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                                          12   professional fees and costs incurred therein, including the $1,738.00 filing fee, thus leaving a
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                                               remaining retainer in the amount of $23,262.00 in trust to secure payment of future legal fees and
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                                          14   costs of L&Z from and after the Petition Date (prior to receipt of the additional $5,000.00), and
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                                          15   as may be allowed by the Court pursuant to the normal fee application process.
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                                          16          12.     As set forth in the Representation Agreement, the hourly rate of the partners at
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                                          17   L&Z is $550.00 per hour, and the hourly rate of paraprofessionals is $220.00 per hour. The
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                                          18   foregoing are L&Z’s current customary hourly rates, and such rates are reasonable in light its
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                                          19   experience and the complexity of the work involved. L&Z will also seek reimbursement of its
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                                          20   expenses pursuant to its policies set forth in the Representation Agreement, which generally
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                                          21   involve passing through all properly reimbursable expenses to the client at cost.
                                          22
                                          22          13.     L&Z hereafter intends to apply to the Court for allowance of compensation and
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                                          23   reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy
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                                          24   Code, including but not limited to sections 330 and 331 of the Bankruptcy Code, the Federal
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                                          25   Rules of Bankruptcy Rules, the Local Rules of Bankruptcy Practice for the United States District
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                                          26   Court for the District of Nevada, and the Guidelines for Professional Compensation established
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                                          27   by the Office of the United States Trustee, and further orders of this Court, for all services
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                                          28   performed and expenses incurred after the Petition Date. It is further contemplated that L&Z


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                                           1   may seek interim compensation during this case as permitted by section 331 of the Bankruptcy
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                                           2   Code and Fed. R. Bankr. P. 2016.
                                           3
                                           3          I declare under penalty of perjury of the laws of the United States that these facts are true
                                           4
                                           4   to the best of my knowledge and belief.
                                           5
                                           5          Dated: February 22, 2021.
                                           6                                                          /s/ Zachariah Larson
                                           6                                                        ZACHARIAH LARSON
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